Case 2:04-cr-20314-SH|\/| Document 83 Filed 06/21/05 Page 1 of 2 Page|D 118

rN THE UNITED srArES DISTRICT CoURT Fu-Eo air m__ D_O_
FoR THE WESTERN DISTRICT or TENNESSEE
WESTERN DIVISION 05 JUN 2 l PH 2: l 3

 

RoBEaT R. o= t
eu~:Fn<, u.e. bismli.®i§i?

UNITED STATES oF AMERICA, w.o. or m MEMFH,S

Plaintiff,
Cr. No. 04-20314-D

VS.

NANCY WILLIS,

Defendant.

OR_DER GRANTING MOTION TO CONTINUE TR_[AL DATE AND SETTING TRIAL TO A DATE CERTAIN

lt appearing to this Court that upon the Written motion of the defendant, there being no

objection from the AUSA and Counsel for the Co-Defendant, and for good cause Shown, said

motion is well-taken, and the Court hereby GRANTS defendant’S motion continue trial date and

hereby Sets Said trial to pt\)\b\\)§_,\- 3 3005 Z)C q'.OO PC[Y\
0 (560>¢\6 ivee\¢~. c>'C Mus¥ edm\n'b! TG\'&H>"* Q$-\Gndzrj

. _ rt FM‘/
russo oRDERED,thlSthe 5 7 day of,hi+y 2005.

d//

/ l
HoNoRABLE BE ICE B. I)oNA‘ifl) \G
UNITED STATES DISTRICT coURT JUD E

   

UN1TED TEATS D1STR1C COURT - WESTERN D"R1T1CT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 2:04-CR-20314 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

